     Case: 1:18-cv-00553 Document #: 359 Filed: 01/28/22 Page 1 of 16 PageID #:7126




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JOSEPH D.G. SIMPSON, et al.,                                   )
                                                               )   Case No. 18-cv-553
                                                               )
                         Plaintiffs,                           )   Judge Sharon Johnson Coleman
                                                               )
v.                                                             )   Mag. J. Heather K. McShain
                                                               )
SHERIFF TOM DART, in his official capacity,                    )
et al.                                                         )
                                                               )
                         Defendants.                           )

             PLAINTIFFS’ SUPPLEMENTAL BRIEF IN LIGHT OF
       THE SEVENTH CIRCUIT’S DECISION ON CLASS CERTIFICATION

         The Seventh Circuit has remanded this case for the Court to reconsider certifying the

“exam” classes, consistent with its “observations and the remaining Rule 23 factors.” Opinion at

12, Simpson v. Dart, No. 21-8028 (7th Cir. Jan. 6, 2022), ECF No. 354. This supplemental brief,

applying the Seventh Circuit’s observations and Rule 23, explains why the exam classes should

now be certified.

         The Seventh Circuit made three primary “observations.” The first was that disparate

impact claims challenging exams “almost necessarily present questions common to the class”—

including “whether those exams in fact caused a disparate impact” and, if so, “whether the use of

the exams was justified by business necessity.” Id. at 9. The second was that it is irrelevant to

Rule 23 commonality whether either (1) plaintiffs’ disparate impact statistics have “controlled

for racially neutral factors” or (2) a challenged test has “been validated for use at other

departments.” Id. 1 Third, the Seventh Circuit recommended that in reconsidering class


1
 Even at summary judgment, Defendants will not be able to “escape liability by showing that the
disparate impact is attributable to particular background factors” rather than race. Gulino v. Bd. of Educ.,
236 F. Supp. 2d 314, 341 (S.D.N.Y. 2002) (quoting Ass’n of Mexican American Educators v. California,
    Case: 1:18-cv-00553 Document #: 359 Filed: 01/28/22 Page 2 of 16 PageID #:7127




certification, this Court should break down the proposed class claims “into their constituent

elements.” Id. at 12.

        Considering the Seventh Circuit’s guidance, this supplemental brief begins by specifying

the exam claims, then breaks them into their constituent elements, and finishes by applying the

Rule 23(a) and Rule 23(b) factors to them.

                                   I.      The Four Exam Claims.

        This case presents four exam claims ripe for class certification. Previously, Plaintiffs had

specified three, by framing the challenge to the Merit Board’s first written exam as one claim.

But the first written exam was modified in April 2016. Applicants who sat for the test before that

date uniformly took one version, and applicants who sat for the test later took another (but still

uniform) version. Dividing the challenge to the first written exam into two claims, one on behalf

of applicants who took the test before April 2016 and another on behalf of the rest, accounts for

that change. The substance of each of the four exam claims is as follows:

      Claim 1: Between 2014 and April 2016, the Defendants 2 had a uniform practice of
      rejecting all applicants who scored below a composite of 75 on the two sections of the
      “first written test” (a written cognitive abilities and “integrity” test, called the NCJOSI2).
      That employment practice had a disparate impact on Black applicants, which was not
      justified by business necessity and therefore violated Title VII (and the Illinois Civil Rights
      Act, which uses the same disparate impact liability standard as Title VII). This claim
      belongs to all Black applicants rejected because they scored below 75 on the NCJOSI2

937 F. Supp. 1397, 1410 (N.D. Cal. 1996)). Through its prohibition on disparate impact, Title VII outlaws
employment practices that have a discriminatory effect on a protected group. Disparate treatment asks
whether race caused an adverse outcome. But disparate impact does not. Under Title VII, if there is
disparate impact, and no job-related business necessity justifies it, “it does not matter why the disparate
impact exists.” Id. (emphasis in original).
2
  The NCJOSI2 is administered by the Merit Board, but as the Seventh Circuit and this Court have both
recognized, the CCSO oversees hiring, with the Merit Board functioning, in practice, as the CCSO’s
delegee or agent. Opinion at 3, Simpson v. Dart, No. 21-8028 (7th Cir. Jan. 6, 2022), ECF No. 354 (“The
[CCSO] oversees all operations, including … hiring … [although] hiring authority is delegated [to the
Merit Board]”); see also ECF No. 131 at 3 (“[T]he Merit Board … acts as an agent of the Cook County
Sheriff’s Department, which delegates certain employment functions to it”); Coleman v. Sheriff of Cook
Cnty., No. 16 C 2682, 2018 WL 3740558, at *5 (N.D. Ill. Aug. 7, 2018) (Durkin, J.) (recognizing that the
Merit Board acts as the Sheriff's agent for purposes of Title VII liability).


                                                    2
    Case: 1:18-cv-00553 Document #: 359 Filed: 01/28/22 Page 3 of 16 PageID #:7128




      before April 2016, within the limitations period. (The last section of this brief addresses
      limitations questions).

      Claim 2: In April 2016, the Defendants modified the NCJOSI2, including by reducing the
      passing score from a composite score of 75 to a composite score of 70. The test continued
      to have disparate impact, which still was not justified by business necessity and therefore
      violates Title VII (and the Illinois Civil Rights Act). This claim belongs to Black applicants
      rejected because they scored below 70 on the modified NCJOSI2 during or after April
      2016.

      Claim 3: Applicants who “pass” the first written test must then “pass” a second written
      exam (a “situation-based” assessment called the SBSA-LEO), which Defendants use with a
      passing score of 70. That employment practice has a disparate impact against Black
      applicants, which is not justified by business necessity and therefore violates Title VII (and
      the Illinois Civil Rights Act). This claim belongs to Black applicants rejected because they
      did not attain a passing score on the SBSA-LEO, within the limitations period.

      Claim 4: The Merit Board also rejects any applicant who fails its physical abilities test (the
      PAT). That employment practice likewise has a disparate impact against Black applicants,
      which is not justified by business necessity and therefore violates Title VII (and the Illinois
      Civil Rights Act). This claim belongs to all Black applicants rejected because of their
      performance on the PAT within the limitations period.

        Once these claims are proved, the available remedies will be the conventional remedies

used in Title VII hiring class actions: (1) a class-wide declaration that each challenged exam, as

used by Defendants, had a disparate impact against Black applicants and was neither job related

nor consistent with business necessity; (2) a class-wide injunction barring Defendants from using

the exam in the future; 3 and (3) “rightful place” priority hiring relief and backpay, based on a




3
 In a Title VII case, a district court “has not merely the power but the duty to render a decree which will
so far as possible eliminate the discriminatory effects of the past as well as bar like discrimination in the
future.” Albemarle Paper Co. v. Moody, 422 U.S. 405, 418 (1975); see also Guardians Ass’n of New York
City Police Dept., Inc. v. Civil Serv. Comm'n, 630 F.2d 79, 108 (2d Cir. 1980) (“When it has been
established that a selection procedure has been unlawfully used, an appropriate compliance remedy
should forbid the use of that procedure, or its disparate racial impact, and may properly assure the
establishment of a lawful new procedure.”).



                                                      3
    Case: 1:18-cv-00553 Document #: 359 Filed: 01/28/22 Page 4 of 16 PageID #:7129




class-wide assessment of how many additional positions Black applicants would have secured

absent discrimination. 4

                                II.     The Elements of the Claims

        The Seventh Circuit recommended that class certification be assessed by breaking the

exam claims down into their constituent elements.

        All four of the disparate-impact exam claims have the same three elements, which are

established by statute. 42 U.S.C. § 2000e–2(k). First, Plaintiffs must prove that Defendants’

rejection of applicants based on exam scores had an adverse impact on Black applicants. With

that established, the burden of proof shifts to Defendants for the second element. They must

show that, despite the exam’s adverse impact, their uniform practice of rejecting applicants based

on exam scores was “job related for the position in question and consistent with business

necessity.” 42 U.S.C. § 2000e-2(k)(1)(A)(i). Typically, the evidence on this point (sometimes

called evidence of an employment practice’s “validity”) boils down to a battle of the experts.

Third, assuming Defendants can show that their use of the exam and its scores to screen

applicants were “valid,” then Title VII allows Plaintiffs to rebut that showing by demonstrating

that, by adopting a “less discriminatory alternative” employment practice, Defendants could have

reduced or avoided the disparate impact without compromising legitimate objectives. 42 U.S.C.

§ 2000e-2(k)(1)(A)(ii), (C); Ernst v. City of Chicago, 837 F.3d 788, 793 (7th Cir. 2016).




4
  Regarding Title VII’s goal of “make whole” relief and the scope of rightful place hiring and backpay,
see generally United States v. City of New York, 847 F. Supp. 2d 395 (E.D.N.Y. 2012), and Lewis v. City
of Chicago, No. 98 C 5596 (N.D. Ill., Aug. 17, 2011), ECF No. 470 (Remedial Order) (copy attached as
Exhibit A hereto). See also Smith v. City of Boston, 460 F. Supp. 3d 51, 59 (D. Mass. 2020) (“Since each
plaintiff suffered at least a diminished chance of employment as a result of” not passing the challenged
test, “they are all entitled to make-whole relief,” even though “it is ‘speculative’ how the ultimate
employment hiring … decision [would have] shake[n] out”).


                                                    4
    Case: 1:18-cv-00553 Document #: 359 Filed: 01/28/22 Page 5 of 16 PageID #:7130




                               III.     Applying Rule 23 to the Claims

        Following the Seventh Circuit’s instructions, the next step in analyzing class certification

is to assess the application of Rule 23’s prerequisites to the four exam claims. Those

prerequisites are numerosity, commonality, typicality, adequacy, predominance, and superiority.

        Defendants have never contested Rule 23(a)(1) numerosity. As a rule of thumb, forty or

more persons is sufficient for a class. Every proposed class here is larger than that. See ECF No.

235 at 5 & n.4 (Pls.’ Consolidated Reply Memo in Support of Class Certification).

        To satisfy Rule 23(a)(2) commonality, “[e]ven a single [common] question will do.”

Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 359 (2011). Here, all four exam claims present at

least three common liability questions: (1) whether the exam had an adverse impact against

Black applicants; (2) whether, despite that impact, rejecting applicants who did not attain a

“passing” score was job related and consistent with business necessity; and (3) whether

Defendants could have adopted alternative hiring practices, with equal or greater validity, that

would have reduced or eliminated the disparate impact. 5 These are not just common questions.

They are also qualitatively the most important liability questions, which is why, as the Seventh

Circuit noted, disparate-impact testing cases like this one “most often” do not require a

“searching commonality inquiry.” Opinion at 2, Simpson v. Dart, No. 21-8028 (7th Cir. Jan. 6,

2022), ECF No. 354. The Supreme Court has been even more emphatic on this point, stating that


5
  The fourth claim here, challenging the PAT, has another common question: whether, as Defendants
contend, their reliance on a PAT established not by them but by the Illinois Law Enforcement Training
and Standards Board should preclude Title VII liability. That is a merits, not a Rule 23, question, which
will be addressed at summary judgment, and the answer will be that there is no such defense. Dothard v.
Rawlinson, 433 U.S. 321 (1977) (public employer’s minimum height and weight standards violated Title
VII despite their establishment by state statute); Gulino v. N.Y. State Educ. Dep’t, 460 F.3d 361, 380 (2d
Cir. 2006) (fact that Board of Education’s use of a teacher certification test was required by the State was
“no defense to Title VII liability”); Reese v. Source 4 Teachers, No. 17-4588, 2018 U.S. Dist. LEXIS
133335, at *12-13 (E.D. Pa. Aug. 8, 2018) (rejecting employer’s argument that its refusal to hire
individuals with certain felony convictions, disparately impacting Black men, is not a “practice” or
“policy” but a requirement of Pennsylvania law).


                                                     5
    Case: 1:18-cv-00553 Document #: 359 Filed: 01/28/22 Page 6 of 16 PageID #:7131




an action “on behalf of every applicant or employee” prejudiced by an allegedly biased hiring

test “clearly” satisfies the commonality requirement of Rule 23(a). Wal-Mart Stores, Inc., 564

U.S. at 353. 6 Cases challenging employment testing on disparate impact grounds under Title VII

only rarely, if ever, present obstacles for class certification; they are very consistently certified. 7

        Rule 23(a) typicality. When a class plaintiff’s claims “arise from the same event,

practice, or course of conduct that gives rise to the claims of other class members and if his or

her claims are based on the same legal theory,” they are typical. 1 Newberg on Class Actions

(“Newberg”) § 3:29 (5th ed.). This typicality “turns on the defendant’s actions toward the

plaintiff class, not particularized defenses against individual class members.” Orlowski v.

Dominick’s Finer Foods, 172 F.R.D. 370, 374 (N.D. Ill. 1997). And the class representative’s

claim “need not be identical to those of the class,” id., but only share “the same essential

characteristics as the claims of the class at large.” De La Fuente v. Stokely-Van Camp, Inc., 713

F.2d 225, 232 (7th Cir. 1983).

        Every class representative here and all members of their proposed class experienced the

same injurious employment practice. All took the same hiring exam and were rejected for the

same reason—because they scored below the “passing” score—giving rise to a shared Title VII


6
 A “biased” employment practice for purposes of Title VII disparate impact is one that disproportionately
excludes a protected group without a job-related justification. Title VII disparate impact law does not ask
about, or require proof of, the reason(s) an employment practice has a disparate impact. “It does not
matter why the disparate impact exists,” only that it does. Gulino, 236 F. Supp. 2d at 341 (quoting Ass’n
of Mexican American Educators, 937 F. Supp. at 1410). Plaintiffs have no burden to explain how or why
a standardized test has a disparate impact—or to show either biased administration of the test or that
decisionmakers adopted the practice intending to disadvantage a protected group. 42 U.S.C. § 2000e-
2(k)(l)(A)(i).
7
 See Lewis v. City of Chicago, 560 U.S. 205 (2010) (class of Black firefighter applicants challenging a
written hiring test); Gulino v. Bd. of Educ., No. 96 CV 8414, 2013 U.S. Dist. LEXIS 123948 (S.D.N.Y.
Aug. 29, 2013) (class of African-American and Latino teachers challenging school-teacher licensing
exams); United States v. City of New York, 276 F.R.D. 22, 44 (E.D.N.Y. 2011) (class of Black applicants
challenging discriminatory written hiring procedures); Easterling v. Conn., Dept. of Corr., 265 F.R.D.
45, 48 (D. Conn. 2010) (class of women challenging an employer’s physical fitness test).


                                                    6
    Case: 1:18-cv-00553 Document #: 359 Filed: 01/28/22 Page 7 of 16 PageID #:7132




disparate impact claim, presenting the same common questions: (1) Did the exam have an

adverse impact? (2) Was the exam “job related” (or “valid”)? (3) Could the adverse impact have

been reduced by replacing the exam with a “lesser discriminatory alternative”?

        As the Supreme Court emphasized in Wal-Mart, “[t]he commonality and typicality

requirements of Rule 23(a) tend to merge.” 564 U.S. at 349 n.5. The overlap in claims that

establishes commonality here also ensures typicality. 8

        Rule 23(a)(4) adequacy. The focus of the adequacy prong is on whether a proposed class

representative has a material conflict of interest with other class members. “Only conflicts that

are fundamental to the suit and that go to the heart of the litigation” bear on adequacy, and to be

disqualifying any such conflict must also be “manifest at the time of certification rather than

dependent on some future event or turn in the litigation that might never occur.” Newberg § 3:58.

No such actual or disabling conflicts have been shown here. The subject of Rule 23(a)(4)

adequacy has been addressed before as part of class certification briefing (see ECF No. 237 at

20-25); Plaintiffs refer the Court to that briefing rather than rehashing it.

        Rule 23(b)(3)’s predominance standard “is meant to help courts identify cases in which

aggregate treatment would be efficient.” 2 Newberg § 4:49. And the predominance inquiry is

whether it is “more efficient, in terms both of economy of judicial resources and of the expense

of litigation to the parties, to decide some issues on a class basis or all issues in separate trials.”

Butler v. Sears, 702 F.3d 359, 362 (7th Cir. 2012). The answer is clear here.


8
  The Merit Board has previously argued that variations in how many times class members took the
NCJOSI2, the SBSA-LEO, or the PAT, or how intensively they prepared for those exams defeats
commonality or typicality here. ECF No. 321 at 7. That is wrong: those circumstances bear on none of the
elements of a Title VII disparate impact cause of action, 42 U.S.C. § 2000e–2(k), making them irrelevant
to whether claims should be certified. And it is inevitable in a Rule 23 class challenging an employment
test that some class members will have prepared for the test and others won’t have, and often some but
not all class members will have taken a test multiple times. If a precondition for class certification were
uniformity in class members’ pre-test experiences, there would be no class action testing cases.


                                                    7
    Case: 1:18-cv-00553 Document #: 359 Filed: 01/28/22 Page 8 of 16 PageID #:7133




        Both qualitatively and quantitatively the most significant liability issues here are the

class-wide questions identified above. 9 The answers to those common questions will “drive the

resolution” of every class member’s claim, Wal-Mart, 564 U.S. at 350, and will not vary from

one class member to another, making it far more efficient to adjudicate these questions once than

make every class member litigate them individually.

        Here, in addition (and this is not true in many other cases), damages will also be subject

to class-wide, rather than individualized, proof. As the Seventh Circuit and other courts have

explained, in challenges to hiring or promotional practices it is often impossible to determine

which particular class members would have been hired (or promoted) but for the Title VII

violation—particularly when, as here, the number of class members exceeds the number of jobs

lost due to the violation and, in addition, some but not all class members might have been

eliminated at later steps of the hiring process. For these reasons, instead of an individual-by-

individual approach to computing monetary relief, courts instead measure the aggregate (class-

wide) loss, based on expert calculations of how many additional Black candidates (the “shortfall”

number) would have been hired (or promoted) but for the violation. Then, that sum is

apportioned among the class members. EEOC v. O&G Spring & Wire Forms Specialty Co., 38

F.3d 872, 879 & n.9 (7th Cir. 1994) (describing calculation of aggregate or “class-wide

[backpay] relief” in hiring discrimination cases); Stewart v. Gen. Motors Corp., 542 F.2d 445,

452 (7th Cir. 1976) (affirming the use of class-wide rather than individualized backpay




9
 Those questions are: Did the exam (being challenged by a particular class) have a disparate impact
against Black applicants? Was the exam still job related and consistent with business necessity, providing
a defense to the disparate impact? And if the exam was job related despite its disparate impact, could the
Defendants have reduced or avoided the disparate impact through “lesser discriminatory alternative”
means?


                                                    8
     Case: 1:18-cv-00553 Document #: 359 Filed: 01/28/22 Page 9 of 16 PageID #:7134




calculations to avoid the “quagmire of hypothetical judgments” that would inevitably be required

to identify which particular individuals, out of a large class, would have been hired). 10

         In previous briefing, Defendants have questioned whether a class of rejected applicants

might be over-inclusive on the mistaken theory that anyone who would not ultimately have been

hired has not suffered any injury-in-fact. ECF No. 321 at 19-20. That issue is easily dispensed

with. As both the Supreme Court and the Seventh Circuit have made very clear, and as this Court

recognized earlier in this case, ECF No. 273 at 3-4, all rejected applicants do suffer “injury in

fact,” flowing from losing the opportunity to continue to compete for a job (the “loss of a

chance”)—even if they would not ultimately have gotten the job. 11 And in addition, Defendants’

misunderstanding also overlooks that in employment cases “it is black letter law that

individualized damage calculations do not render common liability issues non-predominant.” 7

Newberg § 23:33 (5th ed.); see also Bell v. PNC Bank, Nat’l Ass’n, 800 F.3d 360, 379 (7th Cir.

2015) (“The fact that the plaintiffs might require individualized relief or not share all questions



10
  For more cases using class-wide backpay calculations, see also Lewis v. City of Chicago, No. 98 C
5596 (N.D. Ill., Aug. 17, 2011), ECF No. 470 § C (describing and ordering calculation of aggregate
backpay and method for distributing it to class members) (copy attached as Exhibit A hereto); Robinson v.
Metro-North Commuter R.R. Co., 267 F.3d 147, 161 n.6 (2d Cir. 2001); McClain v. Lufkin Indus. Inc.,
519 F.3d 264, 281 (5th Cir. 2008) (“The accepted way to apportion damages among a class of plaintiffs
who outnumber the lost … spots is to compute the total [loss] … and divide the value among the class
members”); Easterling v. Conn. Dept. of Corr., 2012 WL 13027455, at *2 (D. Conn. June 27, 2012)
(describing class-wide calculation of back pay because “it would be impossible to determine exactly
which class members would have received job offers” if pre-employment testing had not violated Title
VII); United States v. City of New York, 847 F. Supp. 2d 395, 408–09 (stating that a case “may require
class-wide, rather than individualized, assessments of monetary relief” where “the facts are not so clear as
to allow a determination as to which class members” would have been hired).
11
  See, e.g., Ne. Fla. Chapter of Associated Gen. Contractors of Am. v. Jacksonville, 508 U.S. 656, 666
(1993) (“the ‘injury in fact’ … is the denial of equal treatment resulting from the imposition of the barrier,
not the ultimate inability to obtain the benefit”); Regents of Univ. of Cal. v. Bakke, 438 U.S. 265, 280 n.14
(1978) (denial of opportunity to compete for admission to university is injury-in-fact, even if plaintiff
would not have been admitted); Biondo v. City of Chicago, 382 F.3d 680, 688 (7th Cir. 2004)
(commending the “loss of a chance” method as “the best way” to handle probabilistic injuries when
applicants outnumber job openings).


                                                      9
     Case: 1:18-cv-00553 Document #: 359 Filed: 01/28/22 Page 10 of 16 PageID #:7135




in common does not preclude certification of a class.”); Chicago Teachers Union, Local No. 1 v.

Board of Educ. of City of Chicago, 797 F.3d 426, 444 (7th Cir. 2015) (holding that

individualized damages did not defeat predominance).

         Rule 23(b) superiority. A class action is by far superior here to any other way of

adjudicating the claims. Only a class action will resolve common issues in one suit, avoiding

relitigating common claims case-by-case. 12 It will prevent inconsistent outcomes in like cases.

And because the economic stakes to some class members might be too slight to repay their cost

of suit, only a class action will make it possible for many class members to have their claims

adjudicated. 13

                          IV.      The PAT is One Employment Practice.

         The PAT is a three-part exam, consisting of sit ups, a bench press, and a 1.5 mile run.

And the measure of the PAT’s disparate impact is the pass/fail rate of Black applicants

compared to White applicants on the complete battery—just as the unit of measure for disparate

impact for a written test with 20 questions is scoring on the whole test, not on any individual test

question.

         The cases consistently treat a multi-step PAT as one employment practice. 14 And even if

in certain circumstances multi-step PATs could be treated as separate practices, the PAT must be


12
  McReynolds v. Merrill Lynch, 672 F.3d 482, 491 (7th Cir. 2012) (noting that it makes “good sense” to
resolve whether a challenged employment practice violates Title VII in a class-wide proceeding and “in
one fell swoop” rather than retrying it over and over in separate trials by individual class members).
13
   Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 617 (1997) (“The policy at the very core of the class
action mechanism is to overcome the problem that small recoveries do not provide the incentive for any
individual to bring a solo action prosecuting his or her rights.”) (quoting Mace v. Van Ru Credit Corp., 109
F.3d 338, 344 (7th Cir. 1997)); Lehocky v. Tidel Techs., Inc., 220 F.R.D. 491, 511 (S.D. Tex. 2004)
(“individual actions would waste judicial resources and leave most class members without an economically
feasible remedy”).
14
  See Ernst v. City of Chicago, 837 F.3d 788 (7th Cir. 2016) (PAT included “modified stair-climb,”
“arm-endurance test,” and “leg lift” subcomponents; disparate impact was calculated for the PAT as a


                                                    10
     Case: 1:18-cv-00553 Document #: 359 Filed: 01/28/22 Page 11 of 16 PageID #:7136




treated “as one [employment] practice” unless and until the Merit Board produces complete and

reliable data showing why each rejected applicant failed the PAT, which it has not done. See 42

U.S.C. § 2000e-2(k)(1)(B)(i) (providing that a multi-step employment practice that causes a

disparate impact and is “not capable of separation for analysis,” may be “analyzed as one

employment practice”); 42 U.S.C. § 2000e-2(k)(1)(B)(i); see also Palmer v. Shultz, 815 F.2d 84,

110 (D.C. Cir. 1987) (“plaintiffs cannot be legitimately faulted for gaps in their statistical

analysis when the information necessary to close those gaps was possessed only by defendant[s]”

and was not furnished either to plaintiffs or to the court); Port Auth. Police Asian Jade Soc’y of

N.Y. & N.J. Inc. v. Port Auth. of N.Y. & N.J., 681 F. Supp. 2d 456, 464 (S.D.N.Y. 2010)

(considering multi-step promotional process as a whole, reasoning that “whether a particular step

causes a disparate impact” could not be determined when “records do not exist for every step”). 15

                                   V.      Limitations Questions

         Mr. Merkerson filed a class-based EEOC charge challenging the Merit Board’s hiring

process on January 8, 2016. The Title VII claims here therefore cover unlawful hiring practices

on or after March 14, 2015 (300 days before the charge, 42 U.S.C. § 2000 e-5(e)(1)). This suit

was filed on January 24, 2018. ECF No. 1. The Illinois Civil Rights Act claims therefore cover



whole); Berkman v. City of New York, 536 F. Supp. 177, 200, 204–05 (E.D.N.Y. 1982), aff’d 705 F.2d
584 (2d Cir. 1983) (PAT included a dummy carry, hand grip, broad jump, flexed harm hang, agility test,
ledge walk, and a one-mile run; disparate impact was calculated for the PAT as a whole); Arndt v. City of
Colorado Springs, 263 F. Supp. 3d 1071 (D. Colo. 2017) (four-part PAT, with disparate impact calculated
on the whole); Thomas v. City of Evanston, 610 F. Supp. 422 (N.D. Ill. 1985) (PAT included a stair-
climb, ¼ mile run, and obstacle course; disparate impact calculated for the PAT as a whole); see also
Allen v. Seidman, 881 F.2d 375, 381 (7th Cir. 1989) (“[N]othing in the structure of a disparate-impact
case requires such pinpointing”).
15
   Defendants informed Plaintiffs’ counsel the day before this supplemental brief was due that it had
finally discovered score sheets for persons who failed the PAT, but they have not been produced, and
Plaintiffs cannot know whether they will permit reliable, separate analyses of each of the three PAT
events, even if such an analysis were necessary (which would mean that all the decisions treating PATs as
a single practice were decided incorrectly).


                                                   11
 Case: 1:18-cv-00553 Document #: 359 Filed: 01/28/22 Page 12 of 16 PageID #:7137




unlawful hiring practices on or after January 24, 2016 (two years before suit, 740 ILCS 23/5(b)).

That bring us to the question of what the covered unlawful hiring practice is.

       In earlier briefing, the Defendants have wrongly contended that for Title VII claims the

only unlawful employment practice is a class member’s disqualification (rejection in the hiring

process), which class members became aware of on the date they were notified of that rejection.

The City of Chicago tried that same argument, unsuccessfully, in Lewis v. City of Chicago, 560

U.S. 205, 213-14 (2010) (“The only actionable discrimination, [the City] argues, occurred …

when it … notified petitioners” of their exam results). And the Supreme Court unanimously

rejected it, 9 to 0 (a rarity in civil rights cases). Nobody on the Supreme Court thought it was a

close question.

       The Supreme Court’s unanimous ruling is binding here. The Supreme Court held, in

Lewis, that in a Title VII disparate impact hiring case (like Lewis and like this case), the injury

suffered by class members is their exclusion from a round of hiring, and not their receipt of a

rejection letter, and that injury recurs every time the employer makes hiring decisions from a

pool of applicants who took a challenged exam.

       The Supreme Court explained that this outcome is required by Title VII’s statutory

language, which explicitly provides that an employer commits a new disparate impact violation

each time it “uses a particular employment practice that causes a disparate impact.” 42 U.S.C. §

2000e-2(k)(1)(A)(i) (emphasis added). The Supreme Court held that an employer “uses” exam

scores to make a hiring decision in every round of hires, each time committing a new violation.

Hence, for a disparate impact claim—unlike a disparate treatment claim where the rule is

different—the conduct, or “trigger,” that starts the limitations period running is the hiring round.

It is the employer’s use of exam scores when it hires candidates that triggers the statute of




                                                 12
  Case: 1:18-cv-00553 Document #: 359 Filed: 01/28/22 Page 13 of 16 PageID #:7138




limitations, not a plaintiff’s receipt of notice of his or her disqualification during the selection

process. Lewis, 560 U.S. at 210-15.

        These distinctions between the disparate treatment and disparate impact limitations

periods are critical in the context of class certification in this case, where the Seventh Circuit has

emphasized that standards for disparate treatment claims must not be applied to the disparate

impact claims. Opinion at 10, Simpson v. Dart, No. 21-8028 (7th Cir. Jan. 6, 2022), ECF No. 354

(noting that disparate impact and disparate treatment “root themselves in different provisions of

Title VII” and warning against confusion between them).

        The Supreme Court’s controlling decision in Lewis mainly means two things for class

certification in this case. First, for Title VII disparate impact claims, the unlawful employment

practices at issue here occurred on the dates of the hiring rounds (all rounds are timely after

March 14, 2015 (300 days before the first EEOC charge)). Second, class membership should be

defined to cover Black applicants who took the first written test at a time that put them into

consideration for a hiring round that occurred after March 14, 2015. The first point is legal: the

unanimous ruling in Lewis requires it. The second point is empirical. It is empirical in that the

hiring data tell us who, based on their date of testing, would necessarily have been considered for

hiring rounds after March 14, 2015: namely, Black applicants who took the first written test

during or after July 2014 were eliminated from consideration for hiring rounds after March 2015.

That is because the Defendants’ entire hiring process takes months, or even years. It is an

empirical fact that Black applicants who sat for the first written test in July 2014 could not have

been included in hiring rounds until after March 2015 (inside the limitations period). See

Scherbaum Declaration (Exhibit B to this brief). Plaintiffs have therefore defined their classes




                                                  13
 Case: 1:18-cv-00553 Document #: 359 Filed: 01/28/22 Page 14 of 16 PageID #:7139




using the July 2014 written testing date, because it corresponds to hiring rounds after March 14,

2015.

                                         CONCLUSION

        For the reasons stated above, and in Plaintiffs’ earlier briefing (ECF Nos. 198 and 235),

the Court should certify four classes under Fed. R. Civ. Proc. 23(b)(3).

Class 1:   All Black applicants for Correctional Officer positions at the Cook County Jail who
           took and did not pass the NCJOSI2 (the first written test) during or after July 2014 and
           before April 2016.

Class 2:   All Black applicants for Correctional Officer positions at the Cook County Jail who
           took and did not pass the NCJOSI2 (the first written test) during or after April 2016.

Class 3:   All Black applicants for Correctional Officer positions at the Cook County Jail who
           took and passed the NCJOSI2 (the first written test) during or after July 2014 and then
           took but did not pass the SBSA-LEO (the second written test).

Class 4:   All Black applicants for Correctional Officer positions at the Cook County Jail who
           took and passed the NCJOSI2 (the first written test) during or after July 2014 and then
           took but did not pass the physical abilities test (PAT).

        Each of these four classes should be certified to litigate at least the following common

and predominating questions: (1) whether the exam challenged by that class had an adverse

impact on Black applicants; (2) whether, despite the exam’s adverse impact, its use was job

related and consistent with business necessity; (3) if the exam’s use was job related and

consistent with business necessity, whether the Defendants had lesser discriminatory alternatives

with substantially equal or greater validity; (4) what is the quantum of class-wide monetary relief

to which the class is entitled and how should it be allocated; and (5) what class-wide declaratory

and injunctive relief should the class be awarded.




                                                14
 Case: 1:18-cv-00553 Document #: 359 Filed: 01/28/22 Page 15 of 16 PageID #:7140




      A draft proposed order is Exhibit C to this brief.


Dated: January 28, 2022

                                                Respectfully submitted,


                                                /s/ Margaret E. Truesdale
                                                One of the attorneys for Plaintiffs


 Marni Willenson                                 Matthew J. Piers
 marni@willensonlaw.com                          mpiers@hsplegal.com
 WILLENSON LAW, LLC                              Caryn C. Lederer
 3420 W. Armitage Ave., Ste. 200                 clederer@hsplegal.com
 Chicago, IL 60647                               Margaret E. Truesdale
 P:312.508.5380                                  mtruesdale@hsplegal.com
 F:312.508.5382                                  Justin Tresnowski
                                                 jtresnowski@hsplegal.com
 Cyrus Mehri                                     HUGHES SOCOL PIERS RESNICK & DYM, LTD.
 CMehri@findjustice.com                          70 W. Madison Street, Suite 4000
 Ellen Eardley                                   Chicago, IL 60602
 EEardley@findjustice.com                        312.580.0100
 Michael Lieder
 MLieder@findjustice.com
 Joshua Karsh
 JKarsh@findjustice.com
 MEHRI & SKALET, PLLC
 2000 K Street, NW, Ste. 325
 Washington, D.C. 20006
 202.822.5100




                                               15
 Case: 1:18-cv-00553 Document #: 359 Filed: 01/28/22 Page 16 of 16 PageID #:7141




                                 CERTIFICATE OF SERVICE


       I hereby certify that on January 28, 2022, I caused a copy of the foregoing document to be

served via the electronic case file system upon counsel of record for all parties.



                                              /s/ Margaret E. Truesdale
                                              One of the attorneys for Plaintiffs




                                                 16
